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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                CASE NO: 2:14-cr-63-FtM-38DNF

AMAURY JIMENEZ BRITO


                                         ORDER

       This matter comes before the Court on review of the file and after consideration of

the United States’ Unopposed Motion to Amend Judgment (Doc. #104) filed on March 27,

2015 on behalf of co-defendant. In the motion, the Government moved the Court for an

Order amending the Judgment in order to specifically recognize the Internal Revenue

Service as the recipient of the restitution ordered during sentencing. The Government

did not object to amending the Judgment. The Court found good cause and will amend

the restitution clause of the Judgment for defendant Amaury Brito to be consistent with

co-defendant Yidelka Caceres.

       Accordingly, it is now ORDERED:

       The Court will amend the judgment for defendant Amaury Jimenez Brito to reflect

the Internal Revenue Service as the recipient of the restitution ordered during sentencing.

The Court will enter the amended judgment under separate cover.

       DONE AND ORDERED at Fort Myers, Florida, this March 30, 2015.




Copies: Counsel of Record
